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EXHIBIT V

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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

~-- eee eee ee x
IN RE: PHARMACEUTICALS ) MDL NO. 1456
INDUSTRY AVERAGE WHOLESALE ) Civil Action
PRICE LITIGATION ) 01-CV-12257-PBS
we-----------eeeee )

THIS DOCUMENT RELATES TO: ) Judge Patti

U.S. ex rel. Ven-A-Care ) B. Saris

of the Florida Keys, Inc. )

v. Abbott Laboratories, ) Magistrate

Inc., et al, ) Judge Marianne B.
No. 06-CV-11337-PBS ) Bowler

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VOLUME FOUR
Continued Video Taped Deposition of ROBERT VITO,
was taken pursuant to notice at Morgan, Lewis, 1701
Market Street, Philadelphia, Pennsylvania, on.
Wednesday, February 6, 2008, beginning at 9:10 a.m.,
before Jeanne Christian, Court Reporter-Notary
Public, and Richard Kanzinger, Jr., Video Tape

Operator, there being present.

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1113

A. Yes.
Q. It looks like you compiled statistics from
the National Claims History File, and then you
collected Medicare reimbursement rates, and then
I guess the third source would be that you
analyzed wholesale prices from drug wholesalers
and group purchasing organizations, right?
A. Yes, sir.
Q. And is that the data that came from -- was
some of that data from Ven-A-Care?
A. I think so.
Q. In fact, did you receive any information
on wholesale prices from drug wholesalers and
group purchasing organizations from any other
entity aside from Ven-A-Care?
A. I'm not certain. I don't know for sure,
but I know we got a lot from Ven-A-Care.
Q. I wonder if you could turn to Abbott
Exhibit 89, please?

MR. DRAYCOTT: Have you
finished with 49?

MR. GORTNER: No.

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THE WITNESS: Which one?

BY MR. GORTNER:

Q. 89.

A. Yes, sir.

Q. For the record, this is a document
premarked as Abbott -- previously marked as

Abbott Exhibit 89. It is Bates labeled HHD
013-1150 through 1154.

Mr. Vito, I will represent to
you, it came out of the working files for this
December 1997 report.

Do you recognize this

document?

A. Yes.

Q. And what is it?

A. I believe this is from our -- the first

thing is probably from the work paper files --
Q. Just so the record is clear, the first

thing, you mean?

A. Data Analysis Folder 4.
Q. Whose handwriting is that on the first
page?

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1115
A. I believe that's Linda Ragone's.
Q. And then, on the second page, which is

Bates labeled 1152, whose handwriting is that?

A. That's mine.

Q. Could you read the note into the record?
A. "Cynthia, could you please make -- I don't
know -- this document does not -- make sure that

this document does not have any items with --

with -- that shows the Ven-A-Care. Please see
me." It just shows the name Ven-A-Care.
Q. What you are doing, again, in this note

is, you are informing one of your staff members
to remove the name Ven-A-Care?

A. Yes, for pricing -- for the information
that we got from them.

Q. And why are you seeking to remove the name
Ven-A-Care from this document?

A. Because I just wanted to make sure that
the sources that we got this from, nobody would
know if they had requested this.

Q. And why did you --

A. Because I believe this is proprietary

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information that they had given to us.

Q. What you mean proprietary information,
what do you mean by that?

A. I think that's information -- sensitive

pricing information that we have obtained.

Q. But it is sensitive -- proprietary as to
whom?
A. I believe from the people that we got it

from, they gave it to us, so we wanted to make

sure that we would have that information, and

that would not be directly attributed to them.

Q. So you were seeking to protect Ven-A-Care

in this situation, right?

A. Yes, we do that wherever we get the

information from.

Q. Could you turn to Abbott Exhibit 90,

please? For the record, this is a document

that's been Bates labeled HHD 013-0004 to 0005.
Do you recognize this

document, Mr. Vito?

A. Yes.

Q. What is it?

Vito, Robert 2-6-2008

